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                                CAUSE NO. D-1-GN-16-005273                                D-1-GN-16-005273
                                                                                          Sandra Henriquez
AFFORDABLE PORTABLE                             §              IN THE DISTRICT COURT OF
STRUCTURES, INC. and                            §
JFJ GROUP, INC.                                 §
  Plaintiffs                                    §
                                                §
V.                                              §                 TRAVIS COUNTY, TEXAS
                                                §
THE CINCINNATI INSURANCE                        §
COMPANY and ALFRED GRAY                         §
 Defendants                                     §                 200TH JUDICIAL DISTRICT


                           DEFENDANTS’ ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, THE CINCINNATI INSURANCE COMPANY and ALFRED GRAY,

Defendants in the above-entitled and numbered cause, and file this, its Original Answer to

Plaintiffs’ Original Petition, and as grounds therefore would respectfully show the Court as

follows:

                                                I.
                                          General Denial

       1.      Subject to such stipulations and/or admissions that may hereinafter be made, THE

CINCINNATI INSURANCE COMPANY and ALFRED GRAY, Defendants enter this general

denial pursuant to Rule 92 of the Texas Rules of Civil Procedure, thereby denying every

allegation contained in Plaintiffs’ Original Petition and demanding strict proof thereof as

required by laws of the State of Texas.

                                                 II.
                                          Right to Amend

       2.      THE    CINCINNATI          INSURANCE    COMPANY        and   ALFRED      GRAY,

Defendants reserve the right to amend its answer and defenses herein as such become available.



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                                            III. PRAYER

       WHEREFORE,          PREMISES         CONSIDERED,      Defendants,    THE    CINCINNATI

INSURANCE COMPANY and ALFRED GRAY, move that the relief prayed for in Plaintiffs’

Original Petition in the above-styled and numbered cause be denied, that Plaintiffs take nothing

herein, and that Defendants go hence without delay, with recovery of its costs and attorneys’

fees, and with such other and further relief, both general and special, at law and in equity, to

which it may show itself justly entitled.


                                              Respectfully submitted,

                                              EGGLESTON & BRISCOE, LLP
                                              333 Clay Street, Suite 4800
                                              Houston, Texas 77002
                                              (713) 659-5100 – Telephone
                                              (713) 951-9920 – Facsimile

                                              By:    /s/ William J. Eggleston IV
                                                       William J. Eggleston
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                                                       wje@egglestonbriscoe.com
                                                       William J. Eggleston IV
                                                       State Bar No. 24063853
                                                       will@egglestonbriscoe.com

                                              ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

        I certify that a true and correct copy of Defendants’ Original Answer has been served on
the following counsel of record via any method that is in compliance with the Texas Rules of
Civil Procedure on this the 28th day of November 2016:

       Robert W. Loree
       LOREE & LIPSCOMB
       The Terrace at Concord Park
       777 E. Sonterra Blvd., Suite 320
       San Antonio, Texas 78258

                                            By:    /s/ William J. Eggleston    IV
                                                     William J. Eggleston IV




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